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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

BANCO SAN JUAN INTERNACIONAL, INC.,
23-cv-6414 (JGK)
Plaintiff,
ORDER
- against -

THE FEDERAL RESERVE BANK OF NEW
YORK, ET AL.,

Defendants.

JOHN G, KOELTL, District Judge:

The plaintiff may submit a supplemental letter, not to
exceed two (2) pages, by Monday, December 16, 2024 at 11:00 a.m.
The defendants may submit a joint reply Letter, not to exceed
one (1) page, by Tuesday, December 17, 2024 at 5:00 p.m.

SO ORDERED.

Dated: New York, New York
December 12, 2024 oe

Jolin G. Koeltl
United States District Judge

